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                                           UNITED STATES JUDICIAL PANEL
                                                           on
                                                                                             NOV 2 0 2019
                                                MULTIDISTRICT LITIGATION
                                                                                         CLERK, U.S. DISTRICT COURT
                                                                                           ALEXANDRIA. ViRGINIA



    IN RE: CAPITAL ONE CONSUMER DATA
    SECURITY BREACH LITIGATION                                                                MDL No. 2915




                                                 (SEE ATTACHED SCHEDULE)


                                 CONDITIONAL TRANSFER ORDER(CTO -2)


    On October 2, 2019, the Panel transferred 17 civil action(s) to the United States District Court for
    the Eastern District of Virginia for coordinated or consolidated pretrial proceedings pursuant to 28
    U.S.C. § 1407. 5'ee_F.Supp.3d_ (J.P.M.L. 2019). Since that time, 26 ad&ional action(s) have been
    transferred to the Eastern District of Virginia. With the consent of that court, all such actions have
    been assigned to the Honorable Anthony J. Trenga.
    It appears that the action(s) on this conditional transfer order involve questions of fact that are
    common to the actions previously transferred to the Eastern District of Virginia and assigned to
    Judge Trenga.                                                                           ^
    Pursuant to Rule 7.1 of the Rules of Procedure of the United States hididal Panel on Multidistrict
    Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
    Eastern District of Virginia for the reasons stated in the order of October 2, 2019, and, with the
    consent of that court, assigned to the Honorable Anthony J. Trenga.
    This order does not become effective until it is filed in the Office of the Clerk of the United States
    District Court for the Eastern District of Virginia. The transmittal of this order to said Clerk shall be
    stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
    Panel within this 7-day period, the stay will be continued until further order of the Panel.

                        inasmuch as no objection is
                        pending at this time, the
                        stay is lifted.                         FOR THE PANEL:
                           Nov 20, 2019
                              CLERK'S OFFICE
                                 UNITED STATES
                               JUDICIAL PANEL ON
                            MULTIDISTRICT LITIGATION
                                                                John W. Nichols
                                                                Clerk of the Panel


   A TRUE COPY,TESTE:
CLERKAU.S. DIST RICT COURT


         DEPUTT'CLERK
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